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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA
JESSIE HOFFMAN                                *         CIVIL ACTION No. 25-169-SDD-SDJ
VERSUS                                        *         CHIEF JUDGE SHELLY D. DICK
GARY WESTCOTT, ET AL.                         *         MAG. SCOTT D. JOHNSON
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                     MOTION TO ENROLL ADDITIONAL COUNSEL

       NOW INTO COURT, through undersigned counsel, come Defendants who, pursuant to

Local Rule 83(b)(14), wish to enroll Mr. Jonathan R. Vining as additional counsel to represent

them in this matter along with the undersigned. Mr. Vining is a member of the Louisiana State Bar

and is admitted to practice before this Court. Mr. Vining’s contact information is as follows:

                                      Jonathan R. Vining, La. Bar Roll No. 30781
                                      Executive Counsel
                                      Department of Public Safety & Corrections
                                      P.O. Box 94304, Capitol Station
                                      Baton Rouge, La. 70804-9304
                                      Telephone:    (225) 342-6728
                                      Facsimile:    (225) 342-3278
                                      Email:        jonathan.vining@la.gov

       Defendants further suggest that the addition of Mr. Vining as additional counsel will

neither hinder nor delay the progress of this matter.

       Defendants therefore request the entry of an Order permitting the enrollment of Mr. Vining

as additional counsel of record and further request that this Court add Mr. Vining to its list of e-

noticing recipients so that he may hereinafter receive notice of all action in the referenced matter,

through inclusion of the email address of jonathan.vining@la.gov.

                               Respectfully Submitted:

                               /s/ Brooke L. R. Ydarraga ____________
                               Jeffrey K. Cody (La. Bar Roll No. 28536)
                               jeffreyc@scwllp.com
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                               Caroline M. Tomeny (La. Bar Roll No. 34120)
                               caroline@scwllp.com
                               Brooke L. R. Ydarraga (La. Bar Roll No. 41000)
                               brooke@scwllp.com
                               SHOWS, CALI & WALSH, L.L.P.
                               628 St. Louis Street (70802)
                               P.O. Drawer 4425
                               Baton Rouge, Louisiana 70821
                               Telephone: (225) 346-1461
                               Facsimile: (225) 346-1467

                               Counsel for Defendants


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 28, 2025, a copy of the foregoing was filed
electronically with the Clerk of Court using the CM/ECF system, and notice will be sent to all
counsel for Plaintiff by operation of the court’s electronic filing system.
                                  __/s/ Brooke L. R. Ydarraga___
                                   BROOKE L. R. YDARRAGA
